USCA4 Appeal: 23-1148   Doc: 16        Filed: 07/24/2023   Pg: 1 of 2


                                                                    FILED: July 24, 2023

                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT

                                     ___________________

                                        No. 23-1148 (L)
                                   (2:20-cv-00417-RAJ-LRL)
                                     ___________________

        STUDCO BUILDING SYSTEMS US, LLC

                    Plaintiff - Appellee

        v.

        1ST ADVANTAGE FEDERAL CREDIT UNION

                    Defendant - Appellant

                                     ___________________

                                          No. 23-1766
                                   (2:20-cv-00417-RAJ-LRL)
                                     ___________________

        STUDCO BUILDING SYSTEMS US, LLC

                    Plaintiff - Appellant

        v.

        1ST ADVANTAGE FEDERAL CREDIT UNION

                    Defendant - Appellee

                                     ___________________

                                          ORDER
                                     ___________________
USCA4 Appeal: 23-1148     Doc: 16        Filed: 07/24/2023   Pg: 2 of 2


              The court consolidates Case No. 23-1766 and Case No. 23-1148 (L) as

        cross-appeals. The appellant in Case No. 23-1148 (L) shall be considered the

        appellant for purposes of the consolidated appeals and shall proceed first at

        briefing and at oral argument. Entry of appearance forms and disclosure statements

        filed by counsel and parties to the lead case are deemed filed in the secondary case.

                                               For the Court--By Direction

                                               /s/ Patricia S. Connor, Clerk
